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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )             CASE NO. 8:12CR56
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )
                                             )                    ORDER
DAVID LEE KLEENSANG and                      )
BERNITA MARGARET KLEENSANG,                  )
                                             )
             Defendants.                     )

      This matter is before the Court on the objection to the Magistrate Judge’s Findings

and Recommendation (Filing No. 79) filed by a nonparty, Mary Hardy.

      The Court adopted the Magistrate Judge’s Findings and Recommendation, and

therefore Ms. Hardy’s objections are moot.

      IT IS ORDERED:

      1.     The objections filed by nonparty Mary Hardy (Filing No. 79) are denied as

             moot; and

      3.     The Clerk is directed to mail a copy of this Memorandum and Order to the

             movant, Mary Hardy, at her last known address.

      DATED this 11th day of June, 2012.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 Chief United States District Judge
